        Case 7:17-cv-00979-TMP Document 12 Filed 09/20/17 Page 1 of 2                     FILED
                                                                                 2017 Sep-20 AM 07:01
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        WESTERN DIVISION

                                               )
JOHN SNODDERLY,                                )
                                               )
       Plaintiff,                              )
                                               )   CASE NO.: 7:17-CV-979-TMP
v.                                             )
                                               )
JACOB LAW GROUP, PLLC, et al.,                 )
                                               )
       Defendants.                             )
                                               )


        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

      Plaintiff, John Snodderly, pursuant to Rule 41(a)(1)(i) of the Federal Rules of

Civil Procedure, hereby gives notice of voluntary dismissal, with prejudice, as to

Defendants Jacob Collection Group, LLC and Jacob Law Group, PLLC, each party

to bear their own costs and attorney’s fees.

                                 Respectfully Submitted,

                                 /s/ Micah S. Adkins
                                 Micah S. Adkins (ASB-8639-I48A)
                                 THE ADKINS FIRM, P.C.
                                 2 Perimeter Park South, Suite 405 E
                                 Birmingham, Alabama 35243
                                 Telephone: (205) 206-6718
                                 Facsimile: (205) 208-9632
                                 Email: MicahAdkins@ItsYourCreditReport.com
                                 Counsel for Plaintiff



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                          CERTIFICATE OF SERVICE

I hereby certify that on September 20, 2017, I mailed the foregoing paper by U.S.
Mail postage pre-paid on the following counsel of record:

JACOB COLLECTION GROUP, LLC
c/o Registered Agent
CORPORATION SERVICE COMPANY INC
641 SOUTH LAWRENCE STREET
MONTGOMERY, AL 36104

JACOB LAW GROUP, PLLC
c/o Registered Agent
CORPORATION SERVICE COMPANY INC
641 SOUTH LAWRENCE STREET
MONTGOMERY, AL 36104


                                      /s/ Micah S. Adkins
                                      Micah S. Adkins




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